               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )   Case No. 06-4002-01-CR-C-NKL
                                              )
RODNEY KEITH RODEBAUGH,                       )
                                              )
              Defendants.                     )
                                              )
                                              )


                                         ORDER

       On April 5, 2007, United States Magistrate Judge William A. Knox recommended

that the Court enter an Order denying Rodney Keith Rodebaugh’s (“Rodebaugh”) Motion

to Suppress Evidence Obtained Through Interception of Wire Communications [ Doc. #

226]. See Report and Recommendation [Doc. # 403]. The R&R reminded the

Rodebaugh that he had ten days from the date he received the R&R to file objections.

More than ten days have passed and Rodebaugh has not objected. After a de novo review

of the record, the Court is convinced that the recommendation of the Magistrate is correct

and should be adopted..

       An order authorizing a wiretap must include, among other things, “a full and

complete statement as to whether or not other investigative procedures have been tried

and failed or why they reasonably appear to be unlikely to succeed if tried or to be too


                                             1

      Case 2:06-cr-04002-BCW        Document 482       Filed 07/09/07    Page 1 of 2
dangerous.” 18 § 2518(1)(c). DEA agent Steve Mattas testified that a wiretap was

necessary in this case because, although an investigation had been ongoing for some time,

the government needed corroborating evidence of the scope of the conspiracy involved

which they had not been able to acquire through other means. Law enforcement need not

exhaust all other possible sources of evidence to satisfy § 2518(1)(c). See United States

v. Matya, 541 F.2d 741, 745 (8th Cir. 1976). Mattas’s testimony is sufficient to establish

the necessity of a wiretap. United States v. Jackson, 345 F.3d 638, 644 (8th Cir. 2003).

No attempt has been made to impeach Mattas’s testimony. Nor has Rodebaugh made

any attempt to challenge the affidavit supporting the extension of the wiretap for an

additional 30 days. See 18 U.S.C. § 2518(1)(f) (“a statement setting forth the results thus

far obtained from the interception, or a reasonable explanation of the failure to obtain

such results” must be included in a application to extend an existing wiretap.)

Accordingly, it is hereby

       ORDERED that Judge Knox’s Report and Recommendation of April 5, 2007

[Doc. # 403], is ADOPTED.



                                                  s/ Nanette K. Laughrey
                                                  NANETTE K. LAUGHREY
                                                  United States District Judge
Dated: July 9, 2007
Jefferson City, Missouri




                                             2

      Case 2:06-cr-04002-BCW         Document 482      Filed 07/09/07     Page 2 of 2
